UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
v. ; CRIMINAL NO. 4:18-cr-572 2S (04)
JOSE NUNEZ-ARELLANO, ;
Defendant. §
PLEA AGREEMENT

The United States of America, by and through Ryan K. Patrick, United States Attorney
for the Southern District of Texas, and Richard W. Bennett, Assistant United States Attorney, and
the defendant, Jose Nunez-Arellano (“Defendant”), and Defendant’s counsel, pursuant to Rule
11(c)(1)(A) and (B) of the Federal Rules of Criminal Procedure, state that they have entered into
an agreement, the terms and conditions of which are as follows:

Defendant’s Agreement

1. Defendant agrees to plead guilty to Count Four of the Second Superseding Indictment.
Count Four charges the defendant with Conspiracy to Harbor and Transport Illegal Aliens in
violation of Title 8 U.S.C. §§1324(a)\d AW), (aC )(ADGI), (a) )(A) iii), and (a)(1)(B)G).
Defendant, by entering this plea, agrees that he is waiving any right to have the facts that the law
makes essential to the punishment either charged in the second superseding indictment, or proved
to a jury or proven beyond a reasonable doubt.

Punishment Range

2. The statutory maximum penalty for each violation of Title 8 USC §§1324
(a) MA)(V)\(D, 1324(a)(1)(A)Gi), 1324(a)(1)(A)Gii) and 1324 (a)(1)(B)G), is up to 10 years’
imprisonment and a fine of not more than $250,000.00. Additionally, Defendant may receive a

term of supervised release of not more than 3 years. See Title 18, United States Code, sections
3559(a)(3) and 3583(b)(2). Defendant acknowledges and understands that if he should violate
the conditions of any period of supervised release which may be imposed as part of his sentence,
then Defendant may be imprisoned for up to two years, without credit for time already served on
the term of supervised release prior to such violation. See Title 18, United Stated Code, sections
3559(a)(3) and 3583(e)(3). Defendant understands that he cannot have the imposition or
execution of the sentence suspended, nor is he eligible for parole.
Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, Section 3013(a)(2)(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier’s check or money order, payable to the Clerk of the United States District Court, c/o District
Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Immigration Consequences

4, Defendant recognizes that pleading guilty may have consequences with respect to his
immigration status. Defendant understands that if he is not a citizen of the United States, by
pleading guilty he may be removed from the United States, denied citizenship, and denied
admission to the United States in the future. Defendant understands that if he is a naturalized
United States citizen, pleading guilty may result in immigration consequences, such as
denaturalization and potential deportation or removal from the United States. Defendant’s
attorney has advised Defendant of the potential immigration consequences resulting from
Defendant’s plea of guilty, and Defendant affirms that he wants to plead guilty regardless of any

immigration consequences that may result from the guilty plea and conviction.
Waiver of Appeal and Collateral Review

5. Defendant is aware that Title 28, United States Code, section 1291, and Title 18, United
States Code, section 3742, afford a defendant the right to appeal the conviction and sentence
imposed. Defendant is also aware that Title 28, United States Code, section 2255, affords the right
to contest or “collaterally attack” a conviction or sentence after the judgment of conviction and
sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, section 2255. Defendant’s
knowing and voluntary waiver of the right to appeal or collaterally attack the conviction and
sentence includes waiving the right to raise on appeal or on collateral review any argument that
(1) the statute(s) to which the defendant is pleading guilty is unconstitutional and (2) the admitted
conduct does not fall within the scope of the statute(s). In the event Defendant files a notice of
appeal following the imposition of the sentence or later collaterally attacks his conviction or
sentence, the United States will assert its rights under this agreement and seek specific performance
of these waivers.

6. In agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court. Defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he may have received from his counsel, the United
States or the Probation Office, is a prediction and not a promise, did not induce his guilty plea, and
is not binding on the United States, the Probation Office or the Court. The United States does not

make any promise or representation concerning what sentence the defendant will receive.
Defendant further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. See United States v. Booker, 543 U.S. 220 (2005).
Accordingly, Defendant understands that, although the Court must consult the Sentencing
Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

7. Defendant understands and agrees that each and all waivers contained in the Agreement
are made in exchange for the concessions made by the United States in this plea agreement.

The United States’ Agreements

8. The United States agrees to each of the following:

(a) If Defendant pleads guilty to Count Four of the second superseding

indictment and persists in that plea through sentencing, and if the Court accepts this

plea agreement, the United States will move to dismiss any remaining counts of the

second superseding indictment at the time of sentencing;

(b) If the Court determines that Defendant qualifies for an adjustment under

section 3E1.1(a) of the United States Sentencing Guidelines, and the offense level

prior to operation of section 3E1.1(a) is 16 or greater, the United States will move

under section 3E1.1(b) for an additional one-level reduction because Defendant

timely notified authorities of his intent to plead guilty, thereby permitting the

United States to avoid preparing for trial and permitting the United States and the

Court to allocate their resources more efficiently.

Agreement Binding - Southern District of Texas Only

9. The United States Attorney’s Office for the Southern District of Texas agrees that it
will not further criminally prosecute Defendant in the Southern District of Texas for offenses
arising from conduct charged in the second superseding indictment. This plea agreement binds

only the United States Attorney’s Office for the Southern District of Texas and Defendant. It

does not bind any other United States Attorney’s Office. The United States Attorney’s Office for
the Southern District of Texas will bring this plea agreement and the full extent of Defendant’s
cooperation to the attention of other prosecuting offices, if requested.
United States’ Non-Waiver of Appeal

10. The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Specifically, the United States reserves the right:

(a) to bring its version of the facts of this case, including its evidence file and

any investigative files, to the attention of the Probation Office in connection with

that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with Defendant's
counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with section 6A1.2
of the United States Sentencing Guidelines and Title 18, United States Code,
section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was determined.

Sentence Determination

11. Defendant is aware that the sentence will be imposed after consideration of the United
States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the
provisions of Title 18, United States Code, section 3553(a). Defendant nonetheless acknowledges
and agrees that the Court has authority to impose any sentence up to and including the statutory
maximum set for the offense(s) to which Defendant pleads guilty, and that the sentence to be
imposed is within the sole discretion of the sentencing judge after the Court has consulted the
applicable Sentencing Guidelines. Defendant understands and agrees that the parties’ positions

regarding the application of the Sentencing Guidelines do not bind the Court and that the sentence
imposed is within the discretion of the sentencing judge. Ifthe Court should impose any sentence
up to the maximum established by statute, or should the Court order any or all of the sentences
imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and
will remain bound to fulfill all of the obligations under this plea agreement.
Rights at Trial

12. Defendant understands that by entering into this agreement, he surrenders certain
rights as provided in this plea agreement. Defendant understands that the rights of a defendant
include the following:

(a) If Defendant persisted in a plea of not guilty to the charges, defendant would

have the right to a speedy jury trial with the assistance of counsel. The trial may

be conducted by a judge sitting without a jury if Defendant, the United States, and

the court all agree.

(b) Ata trial, the United States would be required to present witnesses and other

evidence against Defendant. Defendant would have the opportunity to confront

those witnesses and his attorney would be allowed to cross-examine them. In turn,

Defendant could, but would not be required to, present witnesses and other

evidence on his own behalf. If the witnesses for Defendant would not appear

voluntarily, he could require their attendance through the subpoena power of the

court; and

(c) Ata trial, Defendant could rely on a privilege against self-incrimination and

decline to testify, and no inference of guilt could be drawn from such refusal to

testify. However, if Defendant desired to do so, he could testify on his own behalf.

Factual Basis for Guilty Plea

13. Defendant is pleading guilty because he is in fact guilty of the charge contained in

Count Four of the second superseding indictment. If this case were to proceed to trial, the United

States could prove each element of the offense beyond a reasonable doubt. The following facts,

among others would be offered to establish Defendant’s guilt:
Information gathered from an illegal alien stash house investigation on August 23, 2018,
led agents to obtain another illegal alien smuggling stash house. In October 2018, agents began
conducting surveillance at 11911 Aggie Lane, in Houston, Texas, where they observed activity
indicative of an alien smuggling operation, such as multiple vehicles dropping people off and
picking them up at the residence.

On November 28, 2018, HSI special agents executed a federal search warrant at the stash
house. During the execution of the search warrant agents apprehended the Defendant along with
other co-conspirators, Joel Osornio-Cruz, and Paulino Rios-Garcia. Special agents also found
two Indian nationals and four Guatemalan nationals that were being held in a small bedroom in
the detached garage in the back of the residence. During the search, special agents seized three
pistols, one shotgun, one riffle, ammunition, over $11,000 U.S. dollars in cash, multiple
cellphones, and four vehicles all used in furtherance of the illegal alien smuggling scheme. The
illegal aliens were later interviewed and processed by immigration authorities.

During the interview, one Indian national stated that he travelled from India to E] Salvador,
where he hired an alien smuggler to smuggle him into the U.S. for a $8,000 U.S. dollar fee that he
did not pay in advance. He identified the co-conspirators as participating in this alien smuggling
scheme by acting as a brush guide and the other guarded the aliens, wrote their names down in a
book, and gave them food. He also stated that upon arriving at the house they entered a garage
and they were ordered them to take off their wet shoes and clothes, and taken into an adjacent
room where they stayed all the time until apprehended. The material witness identified the
Defendant as a smuggler in this conspiracy.

Agents also interviewed the co-conspirators who identified the Defendant from a photo
lineup and described him as the person he was working for to pay off his own smuggling debt.
He admitted that the Defendant would give him money to buy food for the aliens. The other co-
conspirator identified the Defendant from a photo lineup as the person he was working for to pay
off his smuggling debt from two months prior. He stated the Defendant offered him work cooking
and washing clothes for the aliens.

The Defendant provided a statement and admitted he was known as “Manuel” and that he
became involved in alien smuggling approximately seven months prior. He also admitted to
picking up illegal aliens in San Antonio for money during this conspiracy.

The facts set forth herein, are a summary of the Defendant’s actions, and are not intended
to be a complete accounting of all the facts and events related to the offense charged in this case.

The limited purpose of this statement of facts is to demonstrate that a factual basis exists to support
the Defendant's plea to the offense set forth in Count Four of the Second Superseding Indictment.

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Breach of Plea Agreement

14. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant’s plea and sentence will stand. If at any time Defendant retains,
conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
and documents that have been disclosed by Defendant, whether prior to or subsequent to this plea
agreement, and all leads derived therefrom, will be used against defendant in any prosecution.

Restitution, Forfeiture, and Fines — Generally

15. This Plea Agreement is being entered into by the United States on the basis of
Defendant’s express representation that he will make a full and complete disclosure of all assets
over which he exercises direct or indirect control, or in which he has any financial interest.
Defendant agrees not to dispose of any assets or take any action that would effect a transfer of
property in which he has an interest, unless Defendant obtains the prior written permission of the
United States.

16. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
agreement. Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited to, executing authorization forms permitting the

United States to obtain tax information, bank account records, credit histories, and social security
information. Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

17. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to
the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to
facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents
necessary to effectuate such transfer. Defendant also agrees to direct any banks which have
custody of his assets to deliver all funds and records of such assets to the United States.

18. Defendant understands that forfeiture, restitution, and fines are separate components
of sentencing and are separate obligations.

Restitution

19. Defendant agrees to pay full restitution to the victim(s) regardless of the count(s) of
conviction. Defendant understands and agrees that the Court will determine the amount of
restitution to fully compensate the victim(s). Defendant agrees that restitution imposed by the
Court will be due and payable immediately and that Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 5 above, Defendant waives the right to challenge
in any manner, including by direct appeal or in a collateral proceeding, the restitution order
imposed by the Court.

Forfeiture

20. Defendant stipulates and agrees that the property listed in the Second Superseding

Indictment’s Notice of Forfeiture, in the Notice of Additional Properties Subject to Forfeiture

(Doc. No. 59), and in any other supplemental notices is subject to forfeiture, and Defendant agrees
to the forfeiture of that property. Defendant waives any and all rights to notice of
seizure/forfeiture and other procedural requirements for forfeiture and specifically admits (a) that
the currency listed in item #2 in the Second Superseding Indictment’s Notice of Forfeiture
constitutes or is derived from proceeds of the conspiracy charged in Count Four and (b) that the
property listed in items #3-#12 in the Notice of Additional Properties Subject to Forfeiture (Doc.
No. 59) was used or intended to be used to facilitate the commission of the offenses charged in
Count Four. Defendant acknowledges that items #2 - #12 in the Second Superseding Indictment
and Notice of Additional Properties Subject to Forfeiture (Doc. No. 59) have been administratively
forfeited by U.S. Customs & Border Protection.

21. Defendant agrees to waive any and all interest in any asset which is the subject of a
related administrative or judicial forfeiture proceeding, whether criminal or civil, federal or state.

22. Defendant consents to the order of forfeiture becoming final as to Defendant
immediately following this guilty plea, pursuant to Federal Rule of Criminal Procedure
32.2(b)(4)(A).

23. Subject to the provisions of paragraph 5 above, Defendant waives the right to
challenge the forfeiture of property in any manner, including by direct appeal or in a collateral
proceeding.

Fines

24. Defendant understands that under the Sentencing Guidelines the Court is permitted to
order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by

the Court will be due and payable immediately, and Defendant will not attempt to avoid or delay

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payment. Subject to the provisions of paragraph 5 above, Defendant waives the right to challenge
the fine in any manner, including by direct appeal or in a collateral proceeding.
Complete Agreement

25. This written plea agreement, consisting of 14 pages, including the attached addendum
of Defendant and his attorney, constitutes the complete plea agreement between the United States,
Defendant, and Defendant’s counsel. No promises or representations have been made by the
United States except as set forth in writing in this plea agreement. Defendant acknowledges that
no threats have been made against him and that he is pleading guilty freely and voluntarily because
he is guilty.

26. Any modification of this plea agreement must be in writing and signed by all parties.

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Defendant

 

Subscribed and sworn to before me on WU 0 VOMmMber \ S ; 249.

DAVID J. BRADLEY, Clerk
UNITED STATES DISTRICT CLERK

By: KY Ress

Deputy United States District Clerk

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APPROVED:

Ryan K. Patrick
United States Attorney

 

 

Richard W. Bennett Alexander HouthuijZen , Esq.
Assistant United States Attorney Attorney for Defendant

Southern District of Texas
Telephone: 713-567-9000

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA

v. CRIMINAL NO. 4:18-cr-572 28 (04)

JOSE NUNEZ-ARELLANO,
Defendant.

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PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his rights with respect to the pending second
superseding indictment. I have reviewed the provisions of the United States Sentencing
Commission’s Guidelines Manual and Policy Statements and I have fully and carefully explained
to Defendant the provisions of those Guidelines which may apply in this case. I have also
explained to Defendant that the Sentencing Guidelines are only advisory and the court may
sentence Defendant up to the maximum allowed by statute per count of conviction. Further, J
have carefully reviewed every part of this plea agreement with Defendant. To my knowledge,

Defendant's decision to enter into this agreement is an informed and voluntary one.

 

 

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Attorney for Defendant Date

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] have consulted with my attorney and fully understand all my rights with respect to the
second superseding indictment pending against me. My attorney has fully explained, and I
understand, all my rights with respect to the provisions of the United States Sentencing
Commission’s Guidelines Manual which may apply in my case. J have read and carefully

reviewed every part of this plea agreement with my attorney. I understand this agreement and ]

voluntarily agree to its terms.

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JOSE NUNEZ-ARELLANO Date
Defendant

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